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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION


   ALEKSEJ GUBAREV,
   XBT HOLDING S.A., and
   WEBZILLA, INC.                                                          Case No.
     Plaintiffs,
                                                                      0:17-cv-60426-UU
   v.

   BUZZFEED, INC. and
   BEN SMITH
     Defendants.


                       PLAINTIFFS’ MOTION IN LIMINE #1
          TO PRECLUDE THE INTRODUCTION OF TESTIMONY OR EVIDENCE
                           CONCERNING

                                               Introduction
          Given Defendants’ repeated attempts to make this case about anything other than what it
  is actually about, it is important to start with a basic reminder of what lies at the heart of this
  case. On January 10, 2017, Defendants published a collection of seventeen privately-produced
  memos that had been created as part of a paid opposition-research assignment for a political
  candidate. The memos were created over the span of many months and only the last of those
  memos is at issue in this case. That memo, referred to herein as the “December Memo,” stated,
  in relevant part, that:
          [Redacted] reported that over the period March-September 2016 a company called
          XBT/Webzilla and its affiliates had been using botnets and porn traffic to transmit
          viruses, plant bugs, steal data and conduct “altering operations” against the
          Democratic Party leadership. Entities linked to one Aleksei GUBAROV [sic] were
          involved and he and another hacking expert, both recruited under duress by the
          FSB, Seva KAPSUGOVICH, were significant players in this operation. In Prague,
          COHEN agreed contingency plans for various scenarios to protect the operations,
          but in particular what was to be done in the event that Hillary CLINTON won the
          presidency. It was important in this event that all cash payments owed were made
          quickly and discreetly and that cyber and that cyber and other operators were stood
          down/able to go effectively to ground to cover their traces.




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         In other words, Buzzfeed’s publication accused Plaintiffs of: (1) using botnets and porn
  traffic to transmit viruses, plant bugs, steal data, and conduct “altering operations” against the
  Democratic Party Leadership, (2) being agents of the FSB, (3) being part of an elaborate
  conspiracy that would need to go into hiding if Hillary Clinton had won the Presidency, and (4)
  (implicitly) attempting to undermine the 2016 United States Presidential election. These are the
  statements that Plaintiffs allege to be defamatory.
                                               Argument
         Federal Rule of Evidence 401 provides, in relevant part, that evidence is only “relevant if:
  (a) it has any tendency to make a fact more or less probable than it would be without the
  evidence; and (b) the fact is of consequence in determining the action.” Federal Rule of
  Evidence 403 provides that the “court may exclude relevant evidence if its probative value is
  substantially outweighed by a danger of one or more of the following: unfair prejudice,
  confusing the issues, misleading the jury, undue delay, wasting time, or needlessly presenting
  cumulative evidence.” Bowe v. Pub. Storage, 2015 U.S. Dist. LEXIS 178180, at *12 (S.D. Fla.
  June 2, 2015). Additionally, “because of the powerful and potentially misleading effect of expert
  evidence, sometimes expert opinions that otherwise meet the admissibility requirements may still
  be excluded by applying Rule 403.” Edwards v. Shanley, 580 F. App'x 816, 823 (11th Cir. 2014)
  (citation omitted).
         Pursuant to Federal Rule of Evidence 801(c), “‘Hearsay’ means a statement that: (1) the
  declarant does not make while testifying at the current trial or hearing; and (2) a party offers in
  evidence to prove the truth of the matter asserted in the statement.” Although experts may
  sometimes rely on hearsay in forming their expert opinions, an expert cannot, simply by virtue of
  being an expert, include in his report or testimony hearsay that fall outside the expert’s area of
  expertise. Bowe v. Pub. Storage, 2015 U.S. Dist. LEXIS 178180, at *27-28 (S.D. Fla. June 2,
  2015) (“Dr. Hausman's opinions regarding the economic factors surrounding the self-storage
  market and the economic reasonableness of the access fee are irrelevant to this inquiry. Dr.
  Hausman’s relevant opinions, that a reasonable consumer would not find the access fee
  important, are not based on his expertise and instead constitute a presentation of other evidence
  in the guise of an expert opinion.” (citing Marvel Characters, Inc. v. Kirby, 726 F.3d 119, 136
  (2d Cir. 2013) (“[A] party cannot call an expert simply as a conduit for introducing hearsay
  under the guise that the testifying expert used the hearsay as the basis of his testimony.”))).

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         Throughout this litigation, Defendants have attempted to introduce evidence and
  argument concerning the so-called                      and have signaled their intent to do so at
  trial. The term                     merits some initial explanation.




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                                            Conclusion
         For the reasons stated hereinabove, Defendants should be precluded from eliciting or
  offering testimony or evidence concerning the so-called




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  Dated: October 29, 2018

  Respectfully Submitted:

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